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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Criminal Action No. 12-cr-33-JLK-1

UNITED STATES OF AMERICA,

       Plaintiff,

v.

JAMSHID MUHTOROV,

       Defendant.




                                             ORDER



        Pursuant to 28 § U.S.C. §1871 (b)(3), jurors required to attend more than ten days of
actual service may be paid, at the discretion of the trial judge, an additional $10.00 per day for
each day over ten days required to complete jury service.

        It is therefore ORDERED that the clerk shall pay jurors in the above-entitled case the
sum of $60.00 per day beginning on each juror’s eleventh day of service and continuing
thereafter until service has been completed and jurors are released by the court.

       Dated this 7th day of May, 2018.



                                              BY THE COURT



                                              ___________________________________
                                              JOHN L. KANE
                                              SENIOR UNITED STATES DISTRICT JUDGE
